                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:09-cr-95
 v.                                                    )
                                                       )       COLLIER / LEE
 DAVID RHODES                                          )
                                                       )


                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the sixty-nine-count

 Indictment; (2) accept Defendant’s plea of guilty to the lesser included offense of the charge in

 Count One, that is of conspiracy to manufacture, distribute, and possess with the intent to distribute

 fifty (50) grams or more of a mixture and substance containing a detectable amount of

 methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846 and

 841(b)(1)(B); (3) adjudicate Defendant guilty of the lesser included offense of the charge in Count

 One, that is of conspiracy to manufacture, distribute, and possess with the intent to distribute fifty

 (50) grams or more of a mixture and substance containing a detectable amount of methamphetamine,

 a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B); (4) defer a

 decision on whether to accept the plea agreement until sentencing; and (5) find Defendant shall

 remain in custody until sentencing in this matter [Doc. 228]. Neither party filed a timely objection

 to the report and recommendation. After reviewing the record, the Court agrees with the magistrate

 judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge’s report and recommendation [Doc. 228] pursuant to 28 U.S.C. § 636(b)(1) and

 ORDERS as follows:




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       (1)   Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

             is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

             that is of conspiracy to manufacture, distribute, and possess with the intent to

             distribute fifty (50) grams or more of a mixture and substance containing a detectable

             amount of methamphetamine, a Schedule II controlled substance, in violation of 21

             U.S.C. §§ 846 and 841(b)(1)(B) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

             in Count One, that is of conspiracy to manufacture, distribute, and possess with the

             intent to distribute fifty (50) grams or more of a mixture and substance containing

             a detectable amount of methamphetamine, a Schedule II controlled substance, in

             violation of 21 U.S.C. §§ 846 and 841(b)(1)(B);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Thursday, March 18, 2010, at 9:00 a.m. before the

             Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:

                                            /s/
                                            CURTIS L. COLLIER
                                            CHIEF UNITED STATES DISTRICT JUDGE




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